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                         OUNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

 UNITED STATES OF AMERICA

 vs.                                              CASE NO: 8:12-cr-288-T-EAK-MAP

 DANIAL MICHAEL CRONKITE
 ____________________________________/


   Order Granting Defendant’s Unopposed Motion for Prison-Term Reduction Under 18
                    U.S.C. § 3582(c)(2) Based on USSG Amend. 782
         Before the Court is the defendant’s motions to reduce his prison term under 18 U.S.C. §

 3582(c)(2) based on USSG Amend. 782, a retroactive guideline amendment, see USSG §1B1.10(d)

 (2014). Docs. # 641 and 678. The United States does not oppose a reduction. Doc. #678. The parties

 agree that he is eligible for a reduction because Amendment 782 reduces the guideline range

 applicable to him, see USSG §1B1.10(a)(1). Doc. #678. The Court agrees that he is eligible for a

 reduction and adopts the amended guideline calculations in the memorandum from the U.S.

 Probation Office. Doc. #667.

         Having reviewed the facts in both the original presentence investigation report and the

 February 13, 2015 memorandum from the United States Probation Office in light of the factors in

 18 U.S.C. § 3553(a) and the need to consider the nature and seriousness of any danger posed by a

 reduction, see USSG §1B1.10, comment. (n.1(B)(ii)), the Court finds that a reduction of 12 months,

 is warranted. Consistent with USSG §1B1.10(e)(1), and in light of the practical difficulties of a

 possible release date on Sunday, November 1, 2015, the effective date of this order is November 2,

 2015.
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        Thus:

        (1)     The Court grants the defendant’s motions, Docs. #641 and 678.

        (2)     The Court reduces the defendant’s prison term from 70 to 58 months, or time

                served, whichever is greater.

        (3)     The effective date of this order is November 2, 2015.

        DONE and ORDERED in Chambers, Tampa, Florida on March 27, 2015.




 Copies furnished to:

 Counsel of Record
 Magistrate Judge
 United States Marshals Service
 United States Probation Office
 United States Pretrial Services
